Case 1:04-cr-00010-MW-GRJ         Document 560      Filed 07/02/07   Page 1 of 1




                                                                         Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              CASE NO.: 1:04-CR-010-SPM

MARCIA THURMAN, et al.,

     Defendants.
______________________________/

                   ORDER CONTINUING VIOLATION HEARING

      THIS CAUSE comes before the Court upon the Defendant’s “Motion to

Continue Revocation Hearing” (doc. 559) filed July 2, 2007, in which defense

counsel requests a 30-day continuance of the Disposition of Revocation of

Supervised Release. This Motion to Continue is unopposed.

      For good cause shown, it is

      ORDERED AND ADJUDGED as follows:

      1.      Defendant’s Motion to Continue (doc. 559) is hereby granted.

      2.      The hearing is reset for Monday, August 6, 2007 at 1:30pm at the

              United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this second day of July, 2007.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
